            Case 3:13-cr-03482-BTM                      Document 212              Filed 10/08/14              PageID.866           Page 1 of 6
     Ii;>"AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
               Sheet 1



                                               UNITED STATES DISTRICT COlf.mt;JOCT -'8 PH 2: 2i f
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A               'CruM.iWAi9\il;~t(J.
                                                                                   (For Offenses Committed"On or After NovemlJijl"il\YI987)
                                         v.
                         KONSTANTIN YUGAY (6)                                      Case Number: l3CR3482 BTM
                                                                                   David A. Katz
                                                                                   Defendant's Attorney
     REGISTRATION NO. 66785112
     o
     THE DEFENDANT:
     I8J pleaded guilty to count(s) ONE OF THE INDICTMENT.
     o     was found guilty on count(s)'_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
     Title & Section                          Nature of Offense                                                                            Number(s)
l8USCl349                             CONSPIRACY TO COMMIT BANK FRAUD                                                                             1




        The defendant is sentenced as provided in pages 2 through     6    of this judgment. The sentence is imposed pursuant
 o
 to the Sentencing Refonn Act of 1984.
      The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 I8J count(s)~r.:em::::;;al:::·n::.:in~g'____________· _ _ _ _ _ _ _ is 0                     arel8J dismissed on the motion of the United States.
 I8J Assessment: $100,00 within 6 months.

 I8J Fine waived                                    o
                                                   Forfeiture pursuant to order filed __________ ' included herein.
      IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                              October 3,2014
                                                                             Dale of Imposition of Senlence




                                                                             UNITED STATES DISTRlCTJUDGE


                                                                                                                                              13CR3482 BTM
       Case 3:13-cr-03482-BTM                       Document 212      Filed 10/08/14       PageID.867            Page 2 of 6
AO 2458 (CASD) (Rev. 4/14)    Judgment in a Criminal Case
            Sheet 2 -   Imprisonment

                                                                                             Judgment -   Page _ _2::...._ of   6
 DEFENDANT: KONSTANTIN YUGAY (6)
 CASE NUMBER: 13CR3482 BTM
                                                             IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).                              t9~TeJ~
                                                                                             BA~D
    o The court makes the following recommendations to the Bureau of Prisons:                          MOSKOWITZ
                                                                                             UNITED STATES DISTRICT JUDGE




    o   The defendant is remanded to the custody of the United States Marshal.

    o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                       Oa.m.    Op.m.    on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o   The defendant shaH surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before ---------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                                RETURN
I have executed this judgment as foHows:

        Defendant deIivered on                                                 to

at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                           UNITED STATES MARSHAL


                                                                      By _ _ _ _ _~~~~~~~~~--------
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                        13CR3482 BTM
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AD 2458 (CASD) (Rev.4114)      Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                               Judgment-Page    _-,3,-_ of          6
DEFENDANT: KONSTANTIN YUGAY (6)                                                                       II
CASE NUMBER: 13CR3482 BTM
                                                             SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a tetm of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
                                                                                                               "   '. ,
                                                                                                                   '.                ,"   .. "
For offenses committed on or afler September J 3, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month during
the term of supervision, unless otherwise ordered by court.

o The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low rlsk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000..pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The derendant shall comply with tfie requirements ofthe Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualitying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        ST ANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall not leave the judicial district. without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive' use of alcohol and shaH not purchase, possess, use, distribute, or administer any
        controlled substance or any. paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless grante;d permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 II)    the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an' informer or a special agent of a "Jaw enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

                                                                                                                                          13CR3482 BTM
              Case 3:13-cr-03482-BTM                     Document 212        Filed 10/08/14          PageID.869             Page 4 of 6
        AO 2458 (CASD) (Rev. 4114) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                         Judgment   Page   ----!l...- of      6
        DEFENDANT: KONSTANTIN YUGAY (6)
        CASE NUMBER: 13CR3482 BTM




                                             SPECIAL CONDITIONS OF SUPERVISION
IV1 Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
~ a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and 1 to 8
    counseling sessions per month as directed by the probation officer.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
18I Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
18I Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
181 NotifY the Collections Unit, United States Attorney's OfflCe, before transferring any interest in propelty valued at $1000.00 or more, owned
    directly or indirectly, including any interest held or owned under any other name or entity, including trusts, partnerships andlor corporations.



181 Make restitution to Wells Fargo in the amount of $197 ,684.00, joint and several with codefendant to be paid in installments of $200.00 per
    month.

181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of days upon release. This is a non punitive
    placement.
181 Seek and maintain full time employment andlor schooling or a combination of both.
D Resolve all outstanding warrants within          days.
D Complete           hours of community service in a program approved by the probation officer within

181 Be prohibited from opening bank and credit card accounts or incurring new credit charges or opening additional lines of credit without
    approval of the probation officer.

181 If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
    States illegally and report to the probation officer within 72 hours of any reently to the United States; the other conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntalY departure.


181 NotifY the Collections Unit, United States Attorney's Office, of any interest in propelty valued at $1000.00 or more obtained directly or
    indirectly, including any interest obtained under any other name, or entity, including a trust, partnership or corporation until the fine or
    restitution is paid in full.




                                                                                                                                           13CR3482 BTM
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    AO 245B   (Rev. 2010) Judgment in a Criminal Case
              Sheet 3 - Continued 2 - Supervised Release
                                                                                 Judgment-Page       5     of       6
    DEFENDANT: KONSTANTIN YUGAY (6)
    CASE NUMBER: 13CR3482 BTM

                                    SPECIAL CONDITIONS OF SUPERVISION

     Be monitored for a period of 240 days, with the location monitoring technology at the discretion of the
     probation officer. The offender shall abide by all technology requirements and shall pay all or part of the costs of
     participation in the location monitoring program, as directed by the court and/or the probation officer. In addition to
     other court-imposed conditions of release, the offender's movement in the community shall be restricted as specified
     below:


     D You are restricted to your residence every day from _ _ _ _ _ _ to _ _ _ _ _ _. (Curfew)
     D probation
       You are restricted to your residence every day from _ _ _ _ _ _ to _______ as directed by the
                 officer. (Curfew)

          You are restricted to your residence at all times except for employment; education; religious services;
          medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
          obligations; or other activities as pre-approved by the probation officer. (Home Detention)

     D other
       You are restricted to your residence at all times except for medication necessities and court appearances or
             activities specifically approved by the court. (Home Incarceration)


o     Be monitored while under supervision with location monitoring technology at the discretion of the
      probation officer, which shall be utilized for the purposes of verifying compliance with any court-imposed
      condition of supervision. The offender shall pay all or part of the costs of location monitoring based upon
      their ability to pay as directed by the co'urt and/or probation officer.
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AO 245S      Judgment in Criminal Case
             Sheet 5 - Criminal Monetary Penalties
                                                                                                    Judgment - Page _ _6,--_ of     6
DEFENDANT: KONSTANTIN YUGAY (6)                                                              II
CASE NUMBER: 13CR3482 BTM

                                                          RESTITUTION

The defendant shall pay restitution in the amount of _ _ _$.:...1_9_7,-,6_8_4_.o_o___ unto the United States of America,
          to Wells Fargo Bank through the Clerk of the Court, jointly and severally with codefendants.




            This sum shall be due immediately and shall be paid at $200.00 per month to Wells Fargo Bank through the
            Clerk U.S. District Court.




        The Court has determined that the defendant     does not    have the ability to pay interest. It is ordered that:

    "         The interest requirement is waived.

             The interest is modified as follows:




                                                                                                   13CR3482 BTM
